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                                                                              6


                                                                                            Jul 22, 2021


                              U NITED STATES DISTR IC T C OUR T
                              SOUTH ER N DISTR ICT O F FLO RIDA
                       21- 60210-CR-COOKE/HUNT
                             CA SE N O .
                                           18U.S.C.b641
                                           18U.S.C.j981(a)(1)(C)
                                           21U.S.C.j853
                                           28U.S.C.j2461(c)
   UNITED STATES O F A M ERICA




   PETER NH CH AEL PAZER,

               D efendant.
                                       /



          The United StatesAtlorney chargesthat:

          From on oraboutD ecem ber1,1994 tluough on oraboutJune 30,2019,in Brow ard County,

   in the Southern D istrictofFlorida,and elsewhere,the defendant,

                                  PETER M ICH AEL PAZER ,

   did know ingly and w illfully receive,conceal,and retain w ith the intentto convertto his own

   use and gain m oney oftheU nited Statesand ofadepartm entand agency thereof,thatisthe Social

   Security Administration,theaggregateamountofwhich exceeded $1,000,thatis,SocialSecurity
   benefits payable to an individualwith the initials ((L.O.R .,''know ing the m oney to have been

   stolen,purloined,and converted,in violation ofTitlel8,United StatesCode,Section 641.

                                 FO RFEITURE ALLEGA TIO NS

                 The allegationsin thisInform ation are hereby re-alleged and by thisreference fully

   incop orated herein forthe purposeofalleging forfeitureto the United StatesofAm erica ofcertain

   property in which the defendant,PETER M ICH AEL PAZER hasan interest.
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          2.        Upon conviction ofa violation ofTitle 18,U nited States Code,Section 641,as

   alleged in thislnform ation,the defendantshallforfeitto the U nited Statesany property,realor

   personal,which constitutes or is derived from proceeds traceable to such offense,pursuantto

   Title18,UnitedStatesCode,Section981(a)(1)(C).
                    TheproperLysubjecttoforfeitureasaresultoftheallegedoffenseincludes,but
   isnotlim ited to,a sum ofapproxim ately $425,706.00 in U.S.currency,which representsthe

   totalam ountoffunds derived from thealleged offense and m ay be soughtasaforfeiture m oney

   judgment.
           4.       Ifanyofthepropertysubjecttoforfeiture,asaresultofanyactoromissionof
  thedefendant:

                      a. cannotbe located upon the exercise ofdue diligence;

                      b. has been transfen'
                                          ed orsold to,ordeposited w ith,athirdparty;

                      c. hasbeenplacedbeyondthejurisdictionofthecourt;
                        d. hasbeen substantially dim inished in value;or

                           has been com m ingled w ith otherproperty which calm otbe divided w ithout

                           difficulty,

   the United Statesshallbe entitled to forfeiture ofsubstitute property undertheprovisionsofTitle

   21,UnitedStatesCode,Section853419,which substituteproperty includesbutisnotlimited to,
   thefollow ing-
                .

                  (i)      RealpropertyIocatedat1522W ashington Street,Hollywood,FL 33020,
                           and

                  (ii)     Realpropertylocatedat380StateRoute94,Vernon,NJ07462.
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          Allpursuantto Title 18,UnitedStatesCode,Section981(a)(1)(C)andtheprocedures
    setforth atTitle21,U nited StatesCode,Section 853,asincorporated by Title 28,United States

    Code,Section2461(c).




                                    JJA AN TO 1 GON ZALEZ
                                    ACT G UN TE STA TES A TTORNEY



                                    J IRAFT
                                    SPECIAL A SSISTAN T U NITED STA TES A TTORNEY
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                                             UM TED STATESDISTRICT CO URT
                                             SOUTHERNDISTRICT OFFLORD A

   X TED STATESOFAW W CA                                CASE NO.
   V.
   PETER M ICHAEL PAZER                                 C ERTIFICATE OF TRIAL ATTOR NEY*
                                                        Superseding CaseInform ation:
                Defendant.                    /
    CourtDivision:(SelectOne)                           Newdefendantts) r-1Yes I
                                                                               V No
    N Miami I--IKeyWest FZ
                         - FTL                          Numberofnewdefendants
    N WPB I--IFTP                                       Totalnumberofcotmts
        1.1havecarefully consideredtheallegationsoftheindictment,thenumberofdefendants,thenumberofproh ble
          witnessesandthelegalcomplexitiesoftheIndictm ent/lnform ation attachedhereto.
        2.1nm awarethattheinform ation supplied ontilisstatem entwillberelied uponbytheJudgesofthisCourtin
          Settingtheircalendarsand schedulingcriminaltrialsunderthem andateoftheSpeedy TrialAct,
          Title28U .S.C.Section 3161.
        3.lnterpreter:(YesorNo) NO
          Listlanguageand/ordialect
        4.Thiscase willtake 0 daysforthepartiestotry.
        5.Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
             (Checkonlyone)                           (Checkonlyone)
         1 0to5days              (Z                    Petty              IU
         11 6to10days            EII                   Minor              (q7I
         111 11to20days          (71                   Misdemeanor       IZI
         IV 21to60days           Eql                   Felony            rz
         V 61daysandover         E7I
        6.Hasthiscasepreviouslybeenfiledintl
                                           'lisDistrictCourt? (YesorNo) No
           Ifyes:Judge                                  CaseN o.
           (Attach copyofdispositiveorder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo)No
           Ifyes:M agistrateCase N o.
           Relatedm iscellaneousnumbers:
           Defendantts)infederalcustodyasof
           Defendantts)instatecustodyasof
           Rule20 from theDistrictof
           Isthisapotentialdeathpenaltycase?(YesorNo) No
        7. Doesthiscase originatefrom am atterpending in theCentralRegion oftheU.S.Attorney'sOffice priorto
           August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
        8. Doesthiscase originatefroln am atterpending intheNorthernRegion oftheU.S.Attorney'sOfticepriorto
           August8,2014(Mag.JudgeShaniekMaynard?(YesorNo) No
        9. Doesthiscase originatefrom am atterpending intheCentralRegion oftheU.S.Attorney'
                                                                                          sOfficepriorto
           October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No


                                                                         A .
                                                                    J diRaft
                                                                    SpecialAssistantUni
                                                                                      ted States Attorney
                                                                    CourtID No.
*penaltySheetts)attachi                                                                            REV .
                                                                                                       3/19/21
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                         UM TED STATES DISTRICT COU RT
                         SOU TH ERN DISTR ICT O F FLORIDA

                                   PEN ALTY SH EET

  Defendant'sN am e: PeterM ichaelPazer

 Case N o:

 Cotmt#:1
    TheftofGovelmm entFunds

     18U .S.C.k641

  *M ax.Penalty:Ten(10)years'impdsonment




    *Refers only to possible term ofincarceration,doe.
                                                     snotinclude possiblefines,restitution,
            specialassessm ents,paroleterm s,or forfeitures thatm ay beapplicable.
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AO 455(Rev.01/09)WaiverofanIndictl
                                 nent

                                U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica                 )
                           M.                          )     CaseNo.
                 PeterMichaelPazer                     )
                                                       )
                                                       )
                                         W AIVER OF AN INDICTM ENT

       1understandthat1have been accused ofoneormoreoffensespunishableby imprisonmentform orethan one
year. 1wasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstm e.

       Aûerreceivingthisadvice,1waivemy rightto prosecution by indictmentand consenttoprosecution by
information.




                                                                              Defendant'
                                                                                       ssignature



                                                                         Signatureofdefendant'
                                                                                             sattorney
                                                                              Thom asA .M orse
                                                                        Printednameofdefendant'
                                                                                              sattorney


                                                                               Judge'
                                                                                    ssi
                                                                                      gnalure


                                                                          Judge'
                                                                               sprintedzzt
                                                                                         wncand title
